      Case 1:25-cv-00007-RP    Document 12     Filed 04/08/25   Page 1 of 22



                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

KAREN COCHENOUR, individually and on behalf
of all others similarly situated,

                  Plaintiff,                  Case No. 1:25-cv-00007-RP
      v.

360TRAINING.COM, INC., d/b/a MORTGAGE
EDUCATORS and COMPLIANCE, INC.,

                  Defendant.


  PLAINTIFF’S RESPONSE AND INCORPORATED MEMORANDUM OF LAW IN
           OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
        Case 1:25-cv-00007-RP          Document 12        Filed 04/08/25       Page 2 of 22



       Plaintiff Karen Cochenour, by and through undersigned counsel, submits this response and

incorporated memorandum of law in opposition to the Motion to Dismiss filed by Defendant

360Training.com, Inc. (Dkt. 10 (the “Motion”)).

  I.      INTRODUCTION

       Plaintiff brings a single claim against the Defendant for violating the Video Privacy

Protection Act, 18 U.S. Code § 2710 (“VPPA”). (See Complaint (“Compl.”), Dkt. 1). Her claim

arises from Defendant’s knowing and intentional installation of Meta Platform, Inc.’s tracking tool

called the “Meta Pixel” on the www.mortgageeducators.com website (the “Website”). (Id., ¶ 2).

When Plaintiff and other consumers requested or obtained prerecorded videos on that Website,

Defendant sent their personally identifiable information to Meta in violation of the VPPA. (Id.).

       Defendant has now moved to dismiss the Complaint on three grounds: first, that this Court

lacks subject matter jurisdiction because Plaintiff lacks Article III standing to assert a VPPA claim;

second, that Plaintiff has failed to state a claim under Rule 12(b)(6); and third, that the VPPA is

unconstitutional under the First Amendment to the United States Constitution. (Dkt. 10). All three

grounds for dismissal are without merit.

       Defendant’s first argument fails because this case is not about Defendant disclosing to Meta

that Plaintiff satisfied the state continuing education requirements to be an active mortgage loan

originator, as the Motion suggests. (Dkt. 10 at 3). Rather, Plaintiff’s case is about Defendant’s

knowing and intentional decision to disclose to Meta that Plaintiff purchased certain online

prerecorded videos. Satisfying continuing education requirements to be a mortgage originator is

not synonymous with watching the prerecorded videos purchased by Plaintiff on Defendant’s

website, because satisfaction of mortgage loan originator educational requirements can be

accomplished in any number of ways, including by attending in-person classes or online courses,

completing online text-only modules, or by listening to audiobooks. See 7 Pa.C.S. § 6131.1


                                                  1
        Case 1:25-cv-00007-RP          Document 12        Filed 04/08/25      Page 3 of 22



(d)(4). (“Continuing education programs may be offered either in a classroom, online or by any

other means approved by the Nationwide Mortgage Licensing System and Registry.”). Thus,

notwithstanding the fact that Plaintiff satisfied her continuing education requirement as a mortgage

loan originator by watching the prerecorded videos she purchased on Defendant’s website,

Defendant’s disclosures to Meta of the specific titles of the prerecorded videos that Plaintiff

purchased on Defendant’s website – in clear violation of the VPPA – invaded Plaintiff’s privacy

in precisely the way that the statute was enacted to prevent, concretely harming her and thus readily

satisfying the injury-in-fact prong of Article III’s standing requirement.

       Defendant’s second ground for dismissal – that the complaint fails to state a claim for relief

– rests on a series of arguments that courts nationwide have consistently rejected. For example,

Defendant argues it is not a videotape service provider, that a Facebook ID (“FID”) is not

personally identifiable information, that a knowing disclosure under the VPPA requires a

Defendant to know whether the plaintiff had an FID, and that the sum of statutory damages

recoverable by a prevailing plaintiff is discretionary. Each of the arguments, as explained below,

has been rejected by literally dozens of federal courts. This Court should adopt the reasoning of

this legion of authority and reject Defendant’s recycled arguments here as well.

       Finally, Defendant’s argument that the VPPA violates the First Amendment, an argument

which also has been unanimously rejected by every court to have considered the argument in the

VPPA context — and for good reason. The VPPA is a legitimate restriction on commercial speech

and is thus constitutional under well-established Supreme Court precedent. See Stark v. Patreon,

Inc. [“Stark II”], 656 F. Supp. 3d 1018, 1039 (N.D. Cal. 2023); Saunders v. Hearst Television,

Inc., 711 F. Supp. 3d 24, 33 (D. Mass. 2024). The Court has subject-matter jurisdiction, and the

Complaint states a claim. The Motion should be denied.




                                                 2
           Case 1:25-cv-00007-RP         Document 12        Filed 04/08/25     Page 4 of 22



   II.       LEGAL STANDARD

           Rule 12(b)(1): “The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party

 asserting jurisdiction.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001). In evaluating

 a Rule 12(b)(1) motion, the court may consider “(1) the complaint alone; (2) the complaint

 supplemented by the undisputed facts evidenced in the record; or (3) the complaint supplemented

 by undisputed facts plus the court’s resolution of disputed facts.” Lane v. Halliburton, 529 F.3d

 548, 557 (5th Cir. 2008). A facial attack happens when a defendant files a Rule 12(b)(1) motion

 without accompanying evidence. Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981). A

 “factual attack” upon the court’s subject matter jurisdiction is one in which “the defendant submits

 affidavits, testimony, or other evidentiary materials.” See id.

          Rule 12(b)(6): “In analyzing the complaint, [the court] will accept all well-pleaded facts as

true, viewing them in the light most favorable to the plaintiff.” Jones v. Greninger, 188 F.3d 322,

324 (5th Cir. 1999). Generally, a district court may not consider any material beyond the pleadings

in ruling on a Rule 12(b)(6) motion. See In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th

Cir. 2007). To survive dismissal, a plaintiff’s complaint must plead “enough facts to state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009).

   III.      ARGUMENT

             A. Plaintiff has suffered an injury in fact

          To establish Article III standing, a plaintiff must allege an “irreducible constitutional

minimum” of an “injury-in-fact.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). “Injury

in fact is a low threshold.” See Ross v. Bank of Am., N.A., 524 F.3d 217, 222 (2d Cir. 2008). When


                                                    3
         Case 1:25-cv-00007-RP           Document 12        Filed 04/08/25      Page 5 of 22



a plaintiff asserts harm to an intangible interest in this Circuit, courts “look to ‘both history and the

judgment of Congress’ to determine whether that injury satisfies Article III’s constitutional

minimum.” Id. (internal citations omitted). Plaintiff has adequately alleged each element necessary

for Article III standing, but because Defendant only challenges the “injury-in-fact” element, only that

element is addressed below. 1

       Plaintiff has adequately alleged an injury-in-fact. The Complaint alleges that Defendant

knowingly disclosed “Plaintiff’s and its other customers’ identities and the titles of the prerecorded

video materials that they purchased to Meta.” (See Compl., Dkt. 1, ¶ 1). Indeed, the Complaint

alleges that, “[w]henever a person with a Meta account purchases prerecorded video material from

Defendant on its Website, Defendant uses – and has used at all times relevant hereto – the Meta Pixel

to disclose to Meta the unencrypted FID of the person who made the purchase and the specific title

of video material that the person purchased, as well as the URL where such video material is available

for purchase.” (See id., ¶¶ 28, 47). Thus, the Complaint adequately alleges facts demonstrating that

Defendant disclosed to Meta information that identified Plaintiff as the purchaser of specific titles of

prerecorded video products (among other details concerning Plaintiff and her purchase) – without

first notifying Plaintiff of, or obtaining her prior written consent to, these practices – and that these

disclosures not only violated the VPPA but additionally “inva[ded] . . . [her] statutorily protected

right to privacy (as afforded by the VPPA), as well as intru[ded] upon [her] private affairs and

concerns” in a way “that would be highly offensive to a reasonable person.” (See id., ¶ 59).


1 The Court need not even reach the standing issue because Defendant is challenging whether its

disclosure of information concerning Plaintiff was privileged—an element to her VPPA claim. Such
a tactic is improper. The Fifth Circuit has explained, where merits-based challenges are disguised as
or are “intertwined with the jurisdictional issue of standing,” challenges to standing should be
“resolved in summary judgment proceedings—where the nonmovant is granted all reasonable factual
inferences and the movant cannot succeed unless the court finds that no genuine issue of material
fact exists—or at a trial on the merits.” See Barrett Computer Servs., Inc. v. PDA, Inc., 884 F.2d
214, 219 (5th Cir. 1989).

                                                   4
         Case 1:25-cv-00007-RP           Document 12         Filed 04/08/25      Page 6 of 22



Defendant’s invasion of Plaintiff’s privacy in this way is sufficiently concrete to manifest an injury-

in-fact as required by Article III.

        Indeed, every federal circuit court of appeal to have considered the issue has found that the

nonconsensual disclosure of a plaintiff’s personally identifying video purchase-related information

to a third party, in violation of the VPPA, readily satisfies the concreteness prong of Article III’s

standing requirement.     For example, in Salazar v. Nat’l Basketball Ass’n, 118 F.4th 533 (2d Cir.

2024), the Second Circuit recently found Article III standing where a plaintiff alleged a VPPA claim

arising from the same sort of disclosures that Defendant is alleged to have made in this case,

explaining:

        [W]e similarly have “no trouble” holding here that Salazar’s alleged harm is
        sufficiently concrete to withstand dismissal. Like Bohnak, Salazar’s core allegation is
        that his personally identifiable information was exposed to an unauthorized third
        party. And Salazar doesn’t just allege that his data was exposed to a third party; rather,
        he asserts that it was disclosed as a result of an arrangement between the NBA and
        Meta pursuant to which the NBA deliberately uses the Facebook Pixel. This alleged
        harm is closely related to the public disclosure of private facts analog.

Salazar, 118 F.4th at 542 (internal citations omitted). The Third, Seventh, Ninth, and Eleventh

Circuits, in accord with Salazar’s reasoning, have likewise each held that plaintiffs alleging

violations of the VPPA necessarily have Article III standing.2

        This Court should adopt the persuasive reasoning of these decisions and conclude that

Plaintiff has adequately demonstrated a concrete injury capable of satisfying Article III by alleging


2 See Perry v. Cable News Network, Inc., 854 F.3d 1336, 1339–41 (11th Cir. 2017) (“[W]e hold that

a plaintiff such as Perry has satisfied the concreteness requirement of Article III standing, where the
plaintiff alleges a violation of the VPPA for a wrongful disclosure.”); In re: Nickelodeon Consumer
Priv. Litig., 827 F.3d 262, 274 (3d Cir. 2016) (“The purported injury here is clearly particularized,
as each plaintiff complains about the disclosure of information relating to his or her online behavior.
While perhaps ‘intangible,’ the harm is also concrete in the sense that it involves a clear de
facto injury, i.e., the unlawful disclosure of legally protected information.”); Sterk v. Redbox
Automated Retail, LLC, 770 F.3d 618, 623 (7th Cir. 2014) (“By alleging that Redbox disclosed their
personal information in violation of the VPPA, Sterk and Chung have met their burden of
demonstrating that they suffered an injury in fact that success in this suit would redress.”);
Eichenberger v. ESPN, Inc., 876 F.3d 979, 982–84 (9th Cir. 2017) (same).
                                                    5
         Case 1:25-cv-00007-RP           Document 12        Filed 04/08/25      Page 7 of 22



that Defendant disclosed her personally identifying video purchase-related information to Meta

without her consent. (See Compl., Dkt. 1, ¶¶ 1, 3, 10, 28, 47, 59, 66, 68).

       Notwithstanding the overwhelming precedent in Plaintiff’s favor, the Motion argues that

Plaintiff lacks Article III standing because (1) “MLO continuing education requirements are

established by law, and information about Plaintiff’s MLO licensure status, which implicitly reflects

completion of those legally required continuing education courses, is publicly available on the NMLS

website,” (Dkt. 10 at 5); (2) “Plaintiff does not allege she suffered any tangible harm” or an intangible

harm, (Dkt. 10 at 7); (3) “Plaintiff also has not suffered a harm with a close relationship to the

publication of private facts” under the Texas Supreme Court’s decision in Indus. Found. of the S. v.

Texas Indus. Acc. Bd., 540 S.W.2d 668, 684 (Tex. 1976), (Dkt. 10 at 8); and (4) Plaintiff cannot plead

a public disclosure analog where “information is disclosed to a business, rather than the public at

large.” (Dkt. 10 at 8). None of these arguments have merit.

       Defendant offers a declaration from Muhammad Hussam Mehmood, Defendant’s VP of

Operations and Regulatory, (Dkt. 10-1), and several exhibits to suggest that information about

Plaintiff’s video purchase history is public. Not so. The first exhibit to Mehmood’s declaration is 7

Pa. Cons. Stat. § 6131.1, the statute that details the licensing requirements for mortgage loan

originators, which, contrary to Defendant’s suggestion, does not require public disclosure of the exact

titles of prerecorded video courses completed in satisfaction of the statutory requirements. The

second exhibit to Mehmood’s declaration is Defendant’s business records reflecting nothing more

than a generic course name and number. Defendant does not otherwise demonstrate how this

information is publicly available to any person in the world.

       Defendant is simply misconstruing Plaintiff’s case. This action is about Defendant’s knowing

and intentional decision to disclose to Meta that Plaintiff purchased certain online prerecorded

videos. Her purchase information is not publicly available, unlike what Defendant suggests. Indeed,


                                                   6
         Case 1:25-cv-00007-RP          Document 12        Filed 04/08/25      Page 8 of 22



neither Plaintiff’s NMLS consumer-facing profile nor any of the other extrinsic documents attached

to Mehmood’s declaration reveal the titles of the continuing education courses or any other

identifying information about which courses Plaintiff underwent to obtain her license. This fact alone

distinguishes this case from the two lines of cases (public disclosure and data breach) relied on by

Defendant.

       For example, Defendant’s relies on Crane v. Am. Bar Ass’n, 663 F. Supp. 3d 747 (E.D. Mich.

2023), which involved a claim that the American Bar Association violated Michigan’s Preservation

of Personal Privacy Act by disclosing a plaintiff’s subscription to the ABA and demographic

information about him as a subscriber to the ABA Journal. The court found that it lacked subject

matter jurisdiction because that plaintiff had already disclosed the reading information protected by

the statute—that he was a subscriber to the ABA journal—“on two well-trafficked websites: his law

firm’s, and that of the State Bar of Michigan.” See Crane, 663 F. Supp. 3d at 753. Unlike in Crane,

Plaintiff has not publicly disclosed information protected by the VPPA—that she requested or

obtained prerecorded video materials from Defendant’s website. Moreover, Defendant’s reliance on

Crane is further belied by 7 Pa.C.S. § 6131.1 (d)(4), which provides that continuing education

requirements can be accomplished “classroom, online, or by any other means.” Put simply, the act

of satisfying continuing education requirements to be a mortgage originator is not synonymous with

the act of watching or purchasing prerecorded videos.3




3 The Motion also cited Mirfasihi v. Fleet Mortg. Corp., No. 01 C 722, 2007 WL 2066503, at *4

(N.D. Ill. July 17, 2007), which is inapplicable. (Dkt. 10 at 7). This case offers no relevance because,
unlike here, the information disclosed—class members’ names and mortgage information—was
otherwise publicly available. Further, Defendant’s reliance on data breach cases for its point fares
no better either because the cases, such as McMorris v. Carlos Lopez & Assocs., LLC, 995 F.3d 295,
302 (2d Cir. 2021), involved undefined future injuries making them distinguishable from the present
case, which involves a current concrete injury from actual disclosures by the Defendant. And, neither
McMorris nor the data breach cases involved VPPA claims, crystallizing their inapplicability. Thus,
Defendant’s argument fails.
                                                    7
         Case 1:25-cv-00007-RP            Document 12        Filed 04/08/25       Page 9 of 22



        Defendant’s second and third arguments run together: the Motion claims that Plaintiff has not

alleged a tangible harm and that she cannot allege intangible harm for the reasons stated in

TransUnion LLC v. Ramirez, 594 U.S. 413, 432 (2021) and Indus. Found. of the S. v. Texas Indus.

Acc. Bd.4 (Dkt. 10 at 8). However, despite Defendant’s suggestion to the contrary, the video purchase

information alleged in the Complaint is information that is “private” under Texas law, even under

the rule articulated in Indus. Found. of the South v. Texas Indus. Acc. Bd. There, the Texas Supreme

Court examined whether workers’ compensation claimants who previously submitted claims to the

Industrial Accident Board had standing to prevent the Board from disclosing certain information to

an employer who subpoenaed the records.5 See 540 S.W.2d at 678. It concluded the claimants had

standing to assert a privacy claim to prevent disclosure of information not exempted under Texas

law. Id. Next, the court had to examine “whether any of the information requested by the Foundation

is ‘private’ within the meaning of the tort law, and whether the Board’s action in making the

information available to the public would constitute a wrongful ‘publicizing’ of such information and

thus an invasion of a claimant's right of privacy.” This second question is where Defendant cherry

picks its argument that “the State may not protect an individual’s privacy interests by recognizing a

cause of action in tort for giving publicity to highly private facts, if those facts are a matter of public

record.” (Dkt. 10 at 8).     However, read in context with the holding, the court actually held “an

individual does not forfeit all right to maintain the confidentiality of his personal affairs merely

because he has disclosed facts about those affairs to a unit of government.” See 540 S.W.2d at 685.

In remanding the case, the court explained that the trial court should examine the files to separate

public information— names, addresses, and date(s) of claims— from non-public information that is


4 Plaintiff concedes she does not allege a defamation analog, so she does not further address Ramirez

on this point.
5 The information requested was “the file number, the claimant’s name and social security number,

the name of claimant’s employer, the nature of the injury, and the name of claimants attorney, if
any.”
                                               8
        Case 1:25-cv-00007-RP           Document 12        Filed 04/08/25      Page 10 of 22



private such as the specific injuries in each claim file. See id. at 686. As relevant here, Plaintiff’s

specific video purchase details are similar to the specific medical conditions that the Texas Supreme

Court held were likely exempt from disclosure in Indus. Found. of the South.6 Thus, Defendant’s

second and third arguments fail.

       Defendant’s third standing argument is that Plaintiff cannot satisfy the publicity element of

the public disclosure of private facts analog because a business is the recipient. Defendant is wrong.

Each of the cases cited by Defendant is distinguishable because they involved intermediaries that

sent collection letters on behalf of a creditor to a debtor. 7 In those cases, the plaintiffs argued that

publicizing a debt to a collection agency was a sufficient analog to the publication of private facts.

The courts disagreed finding that a collection agency’s receipt of debt information is not publication

because inter alia the agency is acting on behalf of the creditor. On the contrary, here, there is an

unrelated third party—Meta—who received the highly offensive information not for the purpose of

acting on behalf of Defendant, but to republish that information in an Orwellian database for

advertisers to see. (Compl., Dkt. 1, ¶ 43). As explained above, the Second Circuit’s recent

assessment of VPPA standing is the more appropriate analysis because Meta is not an intermediary

acting on the defendant’s behalf. In Salazar, the NBA arranged for and used Meta Pixel to receive

information protected by the VPPA, an arrangement parallel to the arrangement between Defendant

and Meta here.      See Salazar, 118 F.4th at 542 (“Salazar doesn’t just allege that his data

was exposed to a third party; rather, he asserts that it was disclosed as a result of an arrangement



6 Defendant cites Johnson v. Sawyer, 47 F.3d 716, 732 (5th Cir. 1995) as further support for its

argument, but Johnson is distinguishable because the information disclosed consisted of “middle
initial, age, street address, job title.” In contrast, the video purchase information here, is clearly
information that Congress has determined is highly offensive to a reasonable person.
7 The credit collection letter cases Defendant cited are: Hunstein v. Preferred Collection & Mgmt.

Servs., Inc., 48 F.4th 1236, 1240 (11th Cir. 2022) (en banc); Nabozny v. Optio Solutions LLC, 84
F.4th 731, 735 (7th Cir. 2023); Shields v. Prof. Bureau of Collections, 55 F.4th 823, 829 (10th Cir.
2022); Barclift v. Keystone Credit Servs., LLC, 93 F.4th 136 (3d Cir. 2024).
                                                    9
          Case 1:25-cv-00007-RP        Document 12         Filed 04/08/25      Page 11 of 22



between the NBA and Meta pursuant to which the NBA deliberately uses the Facebook Pixel. This

alleged harm is closely related to the public disclosure of private facts analog.”). Thus, Defendant’s

fourth argument fails, and the motion should be denied.

            B. Plaintiff has Sufficiently Pled Her VPPA Claim.

          To state a claim under the VPPA, a plaintiff must allege that the defendant “(1) is a video

 tape service provider; (2) who knowingly disclosed to any person; (3) personally identifiable

 information; (4) concerning any consumer.” Brown v. Learfield Commc’ns, LLC, 713 F. Supp. 3d

 355, 360 (W.D. Tex. 2024) (citing 18 U.S.C. 2710 (b)(1)); see also Mollett v. Netflix, Inc., 795 F.3d

 1062, 1066 (9th Cir. 2015). Plaintiff has sufficiently alleged each of these elements. Because

 Defendant challenges only the first three elements, Plaintiff only addresses the challenged elements

 below.

                     1. Defendant is a Videotape Service Provider

          The VPPA defines “videotape service provider” as “any person, engaged in the business, in

 or affecting interstate or foreign commerce, of rental, sale, or delivery of prerecorded video cassette

 tapes or similar audio visual materials . . . .” See 18 U.S.C. 2710 (a)(4). The Fifth Circuit has not

 yet addressed the standard for determining when a defendant qualifies as a “videotape service

 provider,” and courts are divided on this issue. Some courts follow a two-part test, which requires

 that the plaintiff allege facts supporting the inference that (1) the defendant is “in the business of

 delivering video content” and (2) the defendant’s product is not only “substantially involved in the

 conveyance of video content to consumers but also significantly tailored to serve that purpose.” See

 In re Vizio, Inc., Consumer Priv. Litig., 238 F. Supp. 3d 1204, 1221 (C.D. Cal. 2017); Lee v.

 Springer Nature Am., Inc., No. 24-CV-4493 (LJL), 2025 WL 692152, at *8 (S.D.N.Y. Mar. 4,

 2025). Other courts simply require that a plaintiff allege the defendant is “in the business of

 delivering video content.” See Lebakken v. WebMD, LLC, 640 F. Supp. 3d 1335, 1340 n.2 (N.D.


                                                  10
       Case 1:25-cv-00007-RP          Document 12       Filed 04/08/25      Page 12 of 22



Ga. 2022); Ambrose v. Bos. Globe Media Partners LLC, No. CV 21-10810-RGS, 2022 WL

4329373, at *2 (D. Mass. Sept. 19, 2022). The Complaint satisfies either test.

       The      Complaint   alleges    “Defendant     operates    and   maintains     the   Website

www.mortgageeducators.com, where it sells various types of pre-recorded videos.” (See Compl.,

Dkt. 1 at 5).    The Complaint then describes the “prerecorded video materials” offered on

Defendant’s www.mortgageeducators.com website as “online courses for licensure and continuing

education, webinars, and trainings.” (See id., ¶ 45). Far from incidental placement of videos, the

Complaint specifically alleges that Defendant’s website operates as an online video storefront

processing transactions “when consumers add videos to their virtual ‘cart’ on Defendant’s Website”

and delivering those videos after consumers “proceed through the checkout flow[.]” (See id., ¶¶

46-48). The Complaint further corroborates Defendant’s active involvement by alleging that

Plaintiff personally purchased prerecorded video material on December 7, 2023 and that “Defendant

completed the sale[]” of that prerecorded video material “to Plaintiff by shipping or delivering the

prerecorded video material she purchased to the address she provided in her order.” (See id., ¶ 10).

These allegations are on par with the more stringent test articulated in In Re Vizio because the

Complaint alleges that Defendant’s www.mortgageeducators.com Website is intimately involved

in the delivery of video content to consumers like the Vizio Smart TVs, both of which “created a

supporting ecosystem to seamlessly deliver video content to consumers.” See 238 F. Supp. 3d at

1222. This conclusion is supported by the decisions of other courts applying that stringent test. See

Stark v. Patreon, Inc. [“Stark I”], 635 F.Supp.3d 841, 852 (N.D. Cal. 2022) (videotape service

provider element satisfied as to prerecorded materials because “it is reasonable to think that

developing a website to deliver video content requires more significant “tailor[ing] to serve that

purpose” than a package delivery service shipping videocassettes along with other physical




                                                11
        Case 1:25-cv-00007-RP          Document 12        Filed 04/08/25     Page 13 of 22



 goods.”); Mata v. Zillow Grp., Inc., No. 24-CV-01095-DMS-VET, 2024 WL 5161955, at *3 (S.D.

 Cal. Dec. 18, 2024) (videotape service provider element satisfied).

        Defendant has cited five cases for the proposition that “Plaintiff does not allege Mortgage

Educators is substantially involved in the conveyance of video content on the Website.” (Dkt. 10 at

10-11).8 None of these cases involved a defendant creating, selling, and delivering the prerecorded

videos at issue, as Plaintiff alleges here. Instead, these cases concerned defendants who were alleged

to have used their website to market other products, or its website generally, by way of clickable

videos. Given these patent distinctions between the cases cited by Defendant and the facts of this

case, this Court should find the Complaint sufficiently alleges Defendant is a videotape service

provider. See also In re Vizio, 238 F. Supp. 3d at 1222; Stark I, 635 F.Supp.3d at 852; Saunders, 711

F.Supp.3d at 30. Thus, the Motion should be denied.

                     2. An FID is Personally Identifiable Information

       The VPPA defines “personally identifiable information” as including “information which

identifies a person as having requested or obtained specific video materials or services from a video

tape service provider.” See 18 U.S.C. 2710 (a)(3). Without guidance from the Fifth Circuit, courts

are divided on this issue. The First Circuit’s approach stems directly from the VPPA’s plain text and

defines “personally identifiable information” as “information reasonably and foreseeably likely to

reveal which . . . videos [a person] has obtained.” See Yershov v. Gannett Satellite Info. Network,

Inc., 820 F.3d 482, 486 (1st Cir. 2016) (Souter, J., sitting by designation). The “ordinary person”


8 See Carroll, et al., v. General Mills, Inc., No.CV231746DSFMRWx, 2023 WL 4361093 at *3-4

(C.D. Ca. Jun. 26, 2023) (cereal manufacturer’s website “increases its brand presence through the
use of videos.”); Cantu v. Tapestry, Inc., No. 22-cv-1974- BAS-DDL, 2023 WL 4440662, *8 (S.D.
Cal. Jul. 10, 2023) (luxury goods’ website “monetize[es] instances in which consumers watch
videos”); Rodriguez v. Delta T LLC, No. 2:23- CV-03717-HDV-AGR, 2023 WL 9419152,*4 (C.D.
Cal. Dec. 12, 2023) (ceiling fan company’s website used videos as a “critical marketing channel used
by [d]efendant to attract potential, new customers and retain existing customers with appealing video
content.”); Cantu v. Sunrun Inc., No. 23-CV-974-JO-AHG, 2023 WL 11795670, *3 (S.D. Cal. Nov.
22, 2023) (solar energy company’s website used videos “to further market its solar products.”).
                                                  12
         Case 1:25-cv-00007-RP            Document 12     Filed 04/08/25     Page 14 of 22



test is the other approach adopted by the Third and Ninth Circuit, which limits “personally

identifiable information . . . to the kind of information that would readily permit an ordinary person

to identify a specific individual's video-watching behavior.” In re Nickelodeon, 827 F.3d at 290.

Plaintiff’s allegations satisfy either test.

        The Complaint alleges an FID is personally identifiable information because it begins by

alleging that “A Meta profile . . . identifies by name the specific person to whom the profile belongs

(and also contains other personally identifying information about the person).” (See Compl., Dkt. 1

at 2). It further alleges that an FID “identifies a person more precisely than a name, as numerous

persons may share the same name, but each person’s Facebook profile (and associated FID) uniquely

identifies one and only one person.” (See id.). The Complaint also alleges that any person can use

an FID to identify a person “by accessing the URL www.facebook.com/[insert the person’s FID

here]/.” (See id. at ¶ 50). Next, the Complaint ties the personally identifying nature of an FID to

specific allegations of the Plaintiff’s own experience by alleging that “when requesting or obtaining

prerecorded video material from Defendant’s website, Plaintiff had a Meta account, a Meta profile

displaying her full name and picture, and an FID associated with such profile.” (See id. at ¶ 11).

These well-pled allegations must be accepted as true and are consistent with the overwhelming

number of courts that conclude an FID is PII. See Golden v. NBCUniversal Media, LLC, 688 F.

Supp. 3d 150, 159 (S.D.N.Y. 2023) (collecting cases for the proposition that “[c]ourts have uniformly

held Facebook IDs to constitute PII under the VPPA”).

        Such a conclusion is undisturbed even with consideration of the single inapposite case that

Defendant exhaustively relies on for the notion that an FID is a static identifier—In re Nickelodeon

Consumer Priv. Litig. (Dkt. 10 at 11-13). In re Nickelodeon did not involve the Meta Pixel or an




                                                 13
        Case 1:25-cv-00007-RP           Document 12        Filed 04/08/25      Page 15 of 22



FID. Because an FID directly links to a person’s Facebook profile, it is similar to a customer ID for

the reasons explained by In re Nickelodeon, and the Motion should be denied. See 827 F.3d at 290.9

                     3. Defendant’s Disclosures were Knowing

       Liability under the VPPA attaches when a “videotape service provider” like Defendant,

“knowingly discloses . . . personally identifiable information concerning any consumer of such

provider[.]” See 18 U.S.C. 2710 (b)(1). Neither the VPPA nor the Fifth Circuit further define

“knowingly” as stated in the VPPA, but courts in this Circuit have observed that “where a complaint

alleges knowing disclosure under the VPPA, a motion to dismiss will not succeed.” See Li v. Georges

Media Grp. LLC, No. CV 23-1117, 2023 WL 7280519, at *4 (E.D. La. Nov. 3, 2023); Frawley v.

Nexstar Media Grp. Inc., No. 3:23-CV-2197-L, 2024 WL 3798073, at *9 (N.D. Tex. July 22, 2024).

Against this backdrop, Plaintiff has alleged a knowing disclosure.

       Here, the Complaint alleges that Defendant knowingly disclosed to Meta Plaintiff’s and

putative class members’ FIDs and URLs identifying and containing the specific titles of the videos

that were requested or obtained. The FAC alleges specifically that:

       Defendant knowingly disclosed Plaintiff’s and Class members’ Private Viewing
       Information to Meta via the Meta Pixel technology because Defendant intentionally
       installed and programmed the Meta Pixel code on its Website, knowing that such
       code would transmit to Meta the titles of the video materials purchased by its
       customers coupled with its customers’ unique identifiers (including FIDs).

(See Compl., Dkt. 1, ¶ 67) (emphasis added).

       The Complaint further alleges Defendant’s knowledge based on its (1) “intentional

installation” of the Meta Pixel, (id. at ¶¶ 28, 67); (2) “intentionally program[ing]” if the Meta Pixel

“so that all of their customers’ Private Video Information is systematically disclosed to Meta.”


9 Defendant argues in a footnote that Frawley required the plaintiff to allege that his or her profile is

public. (Dkt. 10 at 13 n.3). Defendant is incorrect. Frawley held that the plaintiff satisfied the PII
element because the complaint “alleged that the Facebook ID was disclosed alongside a URL
containing a video title” See 2024 WL 3798073, at *8. Frawley did not and does not articulate a
“public” profile pleading requirement as argued by Defendant.
                                                14
          Case 1:25-cv-00007-RP         Document 12       Filed 04/08/25     Page 16 of 22



(see id. at ¶¶ 49, 53 67 (emphasis added)); and (3) knowingly choosing to “configured the Meta Pixel

on its Website to send Event Data to Meta” when other configurations existed. (See id., ¶ 39). Any

one of these well-pled allegations, standing alone, would be sufficient to allege Defendant’s knowing

disclosure of personally identifiable information. See Frawley, 2024 WL 3798073, at *9 (knowledge

sufficiently alleged); Li, 2023 WL 7280519, at *4; Lebakken, 640 F. Supp. 3d at 1343 (same);

Czarnionka v. Epoch Times Ass’n, Inc., No. 22 CIV. 6348 (AKH), 2022 WL 17069810, at *4

(S.D.N.Y. Nov. 17, 2022). Because Defendant cites not a single case at all, the Motion should be

denied.

                      4. The VPPA does not Require Actual Damages

          Under the VPPA, a court may award (A) “actual damages but not less than liquidated damages

in an amount of $2,500;” (B) “punitive damages;” (C) “reasonable attorneys’ fees and other litigation

costs reasonably incurred;” and (D) “such other preliminary and equitable relief as the court

determines to be appropriate.” See 18 U.S.C. 2710 (c). Defendant claims that Plaintiff has failed to

allege actual damages because “[t]he Complaint alleges nothing more than mere sharing of

Plaintiff[’s] information, which is non-quantifiable, and thus, does not satisfy the ‘actual damages’

requirement.” (Dkt. 10 at 15). This argument is meritless for at least five reasons.

          First, actual damages are not an element of a VPPA claim. As explained above, Judge Ezra

from this court observes only four elements to a VPPA claim: that the defendant “(1) is a video tape

service provider; (2) who knowingly disclosed to any person; (3) personally identifiable information;

(4) concerning any consumer.” See Brown, 713 F. Supp. 3d at 360. Those elements are drawn from

the statutory text of the section of the VPPA which creates the cause of action, 18 U.S.C. § 2710(b).




                                                  15
        Case 1:25-cv-00007-RP          Document 12        Filed 04/08/25       Page 17 of 22



No part of this section requires an allegation of actual damages. 10 See id. For this reason alone,

Defendant’s argument fails.

       Second, several other “remedies” are provided for in the VPPA beyond “actual damages.”

These include “liquidated damages,” “punitive damages,” “attorneys fees and other litigation costs,”

and “equitable relief.” 18 U.S.C. § 2710(c)(2). Plaintiff seeks each of those remedies in her

Complaint. (See Compl., Dkt. 1 at 2, 25-26). Thus, even if Plaintiff is required to seek any specific

remedy provided for by the VPPA as an element of her claim, she has done so throughout the

Complaint by seeking each of these alternative remedies the statute affords.

       Third, recovering liquidated damages does not require a showing of actual damages under the

VPPA. The relevant statutory text provides for the recovery of “actual damages but not less than

liquidated damages in an amount of $2,500.” 18 U.S.C. § 2710(c)(2)(A). The Saunders court swiftly

rejected the very argument has made, explaining that “[t]he problem with [Defendant’s] reading of

the statute is that the text of the VPPA does not condition recovery on proof of actual damages.” 711

F. Supp. 3d at 32. The Saunders court also rejected any comparison between the VPPA and Privacy

Act. See 711 F. Supp. 3d at 32.

       Defendant’s analogy to Fanin v. U.S. Dep’t of Veterans Affs. 572 F.3d 868, 872 (11th Cir.

2009), (see Dkt. 10 at 14-15), fails because the Privacy Act’s language is a mismatch to the VPPA,

as explained above and in Saunders. The Drivers’ Privacy Protection Act (“DPPA”) is a better

comparison to the VPPA. The DPPA provides that a “court may award . . . actual damages, but not

less than liquidated damages in the amount of $2,500.” 18 U.S.C. § 2724(b)(1). And, the VPPA

uses the same language by providing that a “court may award . . . actual damages but not less than



10 Defendant articulates a new, fantastical six element test for stating a claim under the VPPA, (see

Dkt. 10 at 11), which is inconsistent with the statutory text of the VPPA, caselaw including a decision
by this court’s own Judge Ezra, and any ordinary understanding of the VPPA’s plain text. See Brown,
713 F. Supp. 3d at 360.
                                                    16
        Case 1:25-cv-00007-RP            Document 12         Filed 04/08/25       Page 18 of 22



liquidated damages in an amount of $2,500[.]” Thus, the DPPA and VPPA are parallel and

distinguishable from the Privacy Act’s “in an amount equal to the sum of actual damages sustained

by the individual as a result of the [violation], but in no case shall a person entitled to recovery receive

less than the sum of $1,000.” This conclusion is further corroborated by Kehoe v. Fid. Fed. Bank &

Tr., 421 F.3d 1209, 1212 (11th Cir. 2005) (rejecting a comparison of the DPPA to Privacy Act). The

Eleventh Circuit specifically held “that a plaintiff need not prove actual damages to recover liquidated

damages.” See id. at 1215 – 1216.

        Fourth, even if the VPPA required a showing of “actual damages,” and “actual damages”

required pecuniary loss, Plaintiff has alleged pecuniary loss. Plaintiff alleges that her personal

information has market value. (See Compl., Dkt. 1, ¶¶ 11-27). The Complaint describes the data

aggregation and resale industry, which includes the type of personally identifying information

allegedly disclosed by Defendant. (Id., ¶¶ 17-23). Plaintiff further alleges that her data is valuable

to Defendant and that its systematic disclosure to Meta allowed Defendant to improve its marketing

and increase its revenues. (Id., ¶¶ 22, 25). Plaintiff has, therefore, alleged pecuniary harms.

        Defendant does not cite a single case endorsing its position that actual damages are required

to recover liquidated damages under the VPPA. Nor can it. Defendant’s Motion should be denied.

            C. The VPPA Does Not Violate the First Amendment

        Federal district courts are in accord that the VPPA does not violate the First Amendment. In

Saunders v. Hearst Television, Inc., for example, the court expressly rejected a First Amendment

challenge to the VPPA. 711 F. Supp. 3d 24, 33 (D. Mass. 2024). The court found that the complaint’s

alleged disclosures of personally identifiable information constituted commercial speech and was

therefore subject to intermediate scrutiny. Id. Drawing on legislative history, the court wrote that

“Congress’s interest in enacting the VPPA was to ‘preserve personal privacy with respect to the

rental, purchase or delivery of video tapes or similar audio visual materials.’” Id. (quoting S. Rep.


                                                    17
        Case 1:25-cv-00007-RP          Document 12        Filed 04/08/25      Page 19 of 22



100-599 at 1). It determined that these privacy interests are important within the intermediate

scrutiny framework given that the “Supreme Court has repeatedly recognized the sanctity of personal

privacy.” Id. (citing Fla. Bar v. Went For It, Inc., 515 U.S. 618, 625 (1995); Frisby v. Schultz, 487

U.S. 474, 483-485 (1988)). Next, the court found that the VPPA’s restriction on the “precise videos

that plaintiffs viewed alongside plaintiffs’ PII directly and materially advances that interest.” Id.

Completing the analysis, the Court held that the “VPPA is narrowly drawn because it applies only to

a narrow group of business entities and specific group of consumers” and that the “‘fit’ between

Congress’s goal of protecting privacy in this realm and its means to do so is at least reasonable.” Id.

(citing Bd. of Trs. of State Univ. of New York v. Fox, 492 U.S. 469, 481 (1989)). For these reasons,

the court found the VPPA constitutional. Id.; see also Stark II, 656 F. Supp. 3d at 1039 (reaching

the same conclusion). Several authorities have also taken the position that the VPPA is constitutional

in other contexts.11 The unanimous opinion of federal courts is that the VPPA does not violate the

First Amendment.

       Despite this clear guidance, Defendant argues the VPPA is unconstitutional because it (1)

cannot survive strict or intermediate scrutiny,12 (2) does not prevent misleading speech or illegal


11 See Boehner v. McDermott, 484 F.3d 573, 578 n.2 (D.C. Cir. 2007) (“The government can also

limit disclosures by persons who are not its employees without running afoul of the First
Amendment”); IMDb.com Inc. v. Becerra, 962 F.3d 1111, 1124 (9th Cir. 2020) (citing the VPPA as
an example of the “many state and federal statutes [that] ‘regulate data collection and disclosure’
without implicating the First Amendment . . . .”). Additionally, courts examining analogous statutes
have held those statutes were constitutional. See Boelter v. Hearst Commc’ns, Inc. (“Hearst I”), 192
F. Supp. 3d 427, 445 (S.D.N.Y. 2016) (holding Michigan Preservation of Personal Privacy Act (the
“MPPPA”), Mich. Compl. Laws § 445.1711, is constitutional); Boelter v. Advance Magazine
Publishers Inc., 210 F. Supp. 3d 579, 584 (S.D.N.Y. 2016) (same); Boelter v. Hearst Commc’ns, Inc.
(“Hearst II”), 269 F. Supp. 3d 172, 197–98 (S.D.N.Y. 2017) (same).
12 Defendant argues that strict scrutiny applies based on Reed v. Town of Gilbert, Ariz., 576 U.S. 155,

163 (2015) and Barr v. Am. Ass’n of Pol. Consultants, Inc., 591 U.S. 610, 621 (2020) but fails to
otherwise offer any substantive discussion on the VPPA and strict scrutiny. Strict scrutiny does not
apply because this case involves commercial speech, which is unaffected by the decisions in Reed
and Barr as explained in R J Reynolds (which post-dates each of the decisions relied upon by
Defendant). See 96 F.4th at 876; see also Barr 591 U.S. at 620 (“Our decision is not intended to
expand existing First Amendment doctrine. . . .”).
                                                   18
        Case 1:25-cv-00007-RP           Document 12        Filed 04/08/25      Page 20 of 22



businesses, (3) no substantial interests are served, (4) “is unconstitutionally underinclusive”, and (5)

“Congress could have passed a privacy law that protects privacy in a rational manner without this

selectivity.” (Dkt. 10 at 16-20). Defendant’s arguments are meritless.

       Here, this Court should adopt the reasoning from Stark II and Saunders for several reasons.13

First, consumers’ right to privacy is a substantial government interest. See e.g., Stanley v. Georgia,

394 U.S. 557, 564–565 (1969) (recognizing the “the right to read or observe what [one] pleases—the

right to satisfy [one’s] intellectual and emotional needs in the privacy of [one’s] own home”); Trans

Union Corp. v. F.T.C., 245 F.3d 809, 818 (D.C. Cir. 2001). This is the exact interest that Congress

intended to protect in adopting the VPPA. See S. Rep. 100–599, at *5. Contrary to the Motion’s

suggestion otherwise, the VPPA need not prevent misleading speech or address illegal businesses to

trigger a substantial government interest.

       Second, the VPPA directly and materially advances consumers’ privacy interests. Under this

element of the intermediate scrutiny analysis, the statute “may not be sustained if it provides only

ineffective or remote support for the government’s purpose.” 44 Liquormart, Inc. v. Rhode Island,

517 U.S. 484, 505 (1996). That is not the case here. On the contrary, the VPPA’s restrictions directly

prohibit the disclosure of consumers’ personally identifiable information with respect to the audio-

visual materials they request or obtain. See 18 U.S.C. § 2710(b); accord Hearst I, 192 F. Supp. 3d

at 449. The VPPA’s private right of action, statutory damages, and other remedies further provide

effective mechanisms to ensure that the privacy interests the law protects are enforced. See 18 U.S.C.

§§ 2710(c)(1), 2710(2)(A)-(D). See Saunders, 711 F. Supp. 3d at 33.




13 The United States intervened in these actions and several others. Plaintiff incorporates by reference

the United States’ memorandums of law in three other matters and attaches them as exhibits to this
response. See Exhibit A (Walsh v. California Cinema Invs. LLC, No. 2:23-CV-09608-ODW (AJRX)
(C.D. Cal.)); Exhibit B (Peterson v. Learfield Commc’ns, LLC, No. 8:23-cv-00146 (D. Neb.));
Exhibit C (Myers et al., v. Nat’l Assoc. Stock Car Auto Racing, Inc., No. 3:23-cv-00888 (W.D. NC)).
                                                  19
        Case 1:25-cv-00007-RP          Document 12         Filed 04/08/25      Page 21 of 22



       Third, the VPPA is narrowly drawn. This neither requires the law to be “least restrictive

means” nor the “single best disposition.” Fla. Bar, 515 U.S. at 632. Rather, the statute must only

represent a “reasonable” means of accomplishing the government’s goal, and its scope must be “in

proportion to the interests served.” Fox, 492 U.S. at 480. Such is the case here, because only

disclosures of “personally identifiable information” are prohibited,        only “video tape service

provider[s]” are subject to liability, and only “consumer[s]” have standing to sue. See 18 U.S.C. §

2710; Hearst I, 192 F. Supp. 3d at 449. These limitations indicate that the VPPA is narrowly drawn.

See e.g., Saunders, 711 F. Supp. 3d at 33. (“the VPPA is narrowly drawn”).

         Defendant has cited no case finding the VPPA unconstitutional. Instead, Defendant offers

 Gale Force Roofing & Restoration, LLC v. Brown, 548 F. Supp. 3d 1143 (N.D. Fla. 2021), which

 concerned the constitutionality of a Florida law that “prohibits speech encouraging someone to

 contact a contractor or public adjuster for purposes of filing an insurance claim for roof damage.”

 The law in question, legislative history, and interest protected in Gale are so obviously different and

 minuscule compared to the robust materials concerning the VPPA in this case.14

       Rather than infringe upon the First Amendment, Congress understood that the VPPA would

protect the interests and values that the First Amendment embodies. See S. Rep. 100-599, at 4.

Indeed, striking down the VPPA would endanger a wide range of privacy interests protected by

similar laws across the United States. This Court should find that the VPPA withstands First

Amendment scrutiny because it is narrowly tailored to directly and materially advance a substantial

interest in personal privacy.


14 Further, the VPPA is not “underinclusive” because, like the MPPPA, it “only permits disclosure

based on narrow exceptions that still provide some measure of privacy protection.” Advance Mag.
Publishers, 210 F. Supp. 3d at 601. The statutory exceptions in the VPPA essentially mirror those
in the MPPPA. Compare id. (listing the MPPPA exceptions) with 18 U.S.C. § 2710(b)(2) (listing
the VPPA exceptions). Both the MPPPA and the VPPA’s exceptions embody the approach
recommended by the Supreme Court in Sorrell of “allowing the information’s sale or disclosure in
only a few narrow and well-justified circumstances.” 564 U.S. at 573.
                                                20
      Case 1:25-cv-00007-RP   Document 12     Filed 04/08/25     Page 22 of 22



Dated: April 9, 2025              Respectfully submitted,

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                                     21
